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                              EXHIBIT 7
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                       Case No. ________ - Civ.


   MAINSAIL PARENT, LLC
   d/b/a ASPIRION HEALTHCARE
   RESOURCES, and
   SPECIALIZED HEALTHCARE
   PARTNERS, LLC

                  Plaintiffs,

   v.

   DAVID JEWELL,
   MICHAEL CAMERON,
   ALISHA MAYS,
   MEGAN KELLY, and
   TERNIUM, LLC

               Defendants.
   _______________________________________/

                                 DECLARATION OF AMY AMICK

          1.      My name is Amy Amick. I am a resident of Milton, Georgia. I am over the age of

   eighteen (18) and I make this Declaration based upon my personal knowledge of the facts stated

   herein. If called and sworn as a witness, I would testify competently and truthfully as to the facts

   stated in this Declaration. I am a full-time employee of Plaintiff Mainsail Parent, LLC. d/b/a

   Aspirion Health Resources (“Aspirion” or the “Company”). As the Company’s Chief Executive

   Officer, I have authority to submit this Declaration.

          2.      I submit this Declaration in support of Plaintiffs Aspirion’s and Specialized

   Healthcare Partners, LLC’s Complaint against Defendants Michael Cameron, David Jewell,

   Megan Kelly, Alisha Mays (the “Former Employee Defendants”), and Ternium, LLC (“Ternium”).




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          3.      I have been employed by Aspirion since April 2023. In my role as CEO, I am

   responsible for the strategic direction of the company and managing overall operations and

   Company performance. Given my CEO role, I am also familiar with the Company’s contracts with

   the Former Employee Defendants, including their restrictive covenants, as well as the Company’s

   policies and procedures governing the use of Aspirion’s commercially sensitive, confidential and

   proprietary business information (“Confidential Information”).

          4.      Aspirion is a technology-enabled revenue cycle management (RCM) services

   company, or “RCM vendor,” that supports hospitals and health systems nationwide. Aspirion has

   more than 170 clients. Aspirion helps healthcare providers manage and improve their claims

   processing, denials management, accounts receivables collections, and revenue generation

   functions and processes. Through its proprietary software, algorithms, methodology, and processes

   and its dedicated team of healthcare, legal, and technical professionals, Aspirion helps hospitals

   and physicians recover otherwise lost claims revenue from denials, aged Accounts Receivables,

   and complex claims (e.g. motor vehicle accidents, workers compensation, Veterans’ Affairs, and

   claims from government programs such as TriCare and out-of-state Medicaid programs). While

   Aspirion offers our clients this breadth of service offerings, our largest and most prioritized service

   line is the Denials subsegment of the RCM market. In particular, the company specializes in

   supporting hospitals and health systems resolve aged, high-value, complex denials. Due to the

   nature of these denials, Aspirion utilizes employees with juris doctor degrees (JD) to triage, appeal

   and escalate denials with medical insurance companies. Aspirion’s JD denial resolution model is

   one of its key differentiators in the market.

          5.      It is estimated that 17% of all claims are denied by a medical insurance company.

   Moreover, according to the Kauffman Hall National Hospital Flash Report, the average operating




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   margin for hospitals in the United States in 2023 was 2.3 %. This means that hospitals rely on

   every last dollar of revenue and overturning denied claims is very important to the hospital.

   Providers partner with RCM vendors, such as Aspirion, to refute denials and to justify, and

   ultimately collect, payment for these denied claims.

          6.      The revenue cycle in healthcare is complex. The fees paid to a provider varies

   based upon the type of medical care provided, medical necessity, provider and facility

   credentialing, the patient’s medical insurance coverage, the terms of the provider’s contract with a

   medical insurance company, laws and regulations governing potential payers, and compliance with

   medical coding, billing, documentation and submission standards. The complexity, limited access

   to skilled staff, and the subject matter expertise required, leads the majority of hospitals and health

   systems to partner with RCM vendors to help optimize reimbursements, identify and correct billing

   errors, pursue complex claims, assist with overturning denials, and collect fairly owed accounts

   receivables. RCM vendors in healthcare are focused on supporting hospitals and health systems

   by providing these services.

          7.      RCM vendors’ overall goal of increasing provider revenue directly benefits the

   patient and increases patient satisfaction. It is an arduous process for a hospital or health system to

   ensure accurate and full payment. Moreover, maximizing effectiveness in the revenue cycle is

   very important to hospitals and health systems: ensuring providers receive fair payment for

   services rendered is critical to the overall revenue of the health system and accelerating time to

   payment also is important to providers’ cash flow. RCM vendors also can reduce the time providers

   have to spend on administrative and clinical functions. This means providers can devote more time

   and attention to ensuring they are delivering high quality value-based care to patients.




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          8.      Aspirion invests significant resources to develop and maintain goodwill with its

   customers and clients, workforce, and referral sources. Aspirion’s assembled workforce, in which

   Aspirion invests substantial time, money and resources, is comprised of more than 1,400

   employees, including more than 170 attorneys and legal staff, over 60 clinicians, nine sales

   representatives, and a team of other healthcare professionals. These roles vary from non-

   management level employees to executive level employees.

          9.      Until their respective resignations from Aspirion, three of the Former Employee

   Defendants held senior-level management positions within Aspirion and the fourth, Cameron

   served as the most senior sales executive. Each were prior employees of Specialized Healthcare

   Partners LLC (“SHP”). Cameron was the Chief Client Officer at SHP and Jewell, Mays, and Kelly

   each held the title of Managing Attorney and Client Manager at SHP.

          10.     In July 2019, Aspirion acquired SHP. Almost all SHP employees continued their

   employment post-acquisition and became part of the Aspirion workforce, including the Former

   Employee Defendants.

          11.     After the acquisition, Aspirion appointed Cameron as Senior Vice President of

   Sales. In this role, Cameron was responsible for identifying and pursuing prospective business

   opportunities for Aspirion, including identifying opportunities to expand an existing client

   relationship as well as identifying and signing potential new clients. Cameron served as the most

   senior sales representative in the Company and he had a broad national territory comprised of some

   of the largest hospitals and health systems within the United States.

          12.     In 2020, David Jewell (Jewell) was promoted to Managing Attorney & Executive

   Director of Client Success within Aspirion’s Client Success Department. In that role, Jewell had

   accountability for approximately 25% of Aspirion’s clients and he was responsible for leading the




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   team of legal and business professionals directly supporting and managing those clients. He was

   the primary liaison between the client and Aspirion’s Operations team who performed RCM

   services on the client’s behalf. As part of this role, Jewell was also tasked with business

   development and asked to identify opportunities for expansion and to cross-sell within his client

   base. As an Executive Director, Jewel was responsible for client satisfaction, client retention, and

   client expansion and he was responsible for ensuring our operations team’s performance met the

   client’s needs. Given his role, Jewell was the primary client-facing contact for a number of

   Aspirion’s largest and most important clients including, for instance, Children’s Hospital of

   Orange County, Cedars Sinai, and Piedmont Healthcare, among others.

           13.    Megan Kelly (Kelly) was also promoted to Managing Attorney & Executive

   Director of Client Success in 2020. Like Jewell, Kelly was entrusted with approximately 25% of

   Aspirion’s clients, including Parkview Health and Centura Health, among others. As Executive

   Director, she led the team of legal and business professionals supporting her clients and she was

   responsible for client satisfaction, client retention, client expansion, and for ensuring our

   operations team’s performance met her clients’ needs. On the business development side, she

   identified opportunities for business expansion and made efforts to cross-sell within her client

   base.

           14.     Alisha Mays (Mays) was also promoted to Managing Attorney & Executive

   Director of Client Success in 2020. Like Jewell and Kelly, she was responsible for approximately

   25%     of Aspirion’s clients including, for instance, Banner Health, Phoenix Children’s and

   Evangelical Health. Her primary responsibilities included leading the team of professionals

   supporting her clients and ensuring client satisfaction and client retention but, as part of her role,

   she also identified opportunities for expansion and made efforts to cross-sell within her client base.




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          15.      Aspirion’s service offerings are highly specialized and distinct from most other

   healthcare RCM vendors. As a qualification for their roles, three of the four Former Employee

   Defendants, Jewell, Kelly, and Mays, held juris doctorates and were subject matter experts

   regarding denied health insurance claims. Achieving subject matter expertise requires years of

   health insurance denial resolution experience and mastering knowledge related to regulation,

   contracts, payer policy, and clinical care guidelines. Aspirion invests heavily in training and

   developing team members who can operate as subject matter experts in the healthcare revenue

   cycle marketplace. This expertise is not only core to Aspirion’s performance outcomes but serves

   as a key differentiator in the healthcare revenue cycle marketplace. The Defendants’ value in the

   marketplace is largely derived from the years of professional development and experience gained

   at Aspirion.

          16.      Moreover, in their respective roles – Senior Vice President of Sales and Managing

   Attorneys & Executive Directors of Client Success – all four of the Former Employee Defendants

   were very familiar with Aspirion’s existing and prospective customers, marketing strategies, sales

   pipeline, confidential pricing structure, client health index, client strategies and performance

   results. The Former Employee Defendants also had knowledge of and access to Aspirion’s

   Confidential Information, which encompasses, among other things, its most sensitive trade-secret,

   confidential,   competitively-sensitive,   proprietary,   and   commercially    valuable   business

   information, including the Company’s business accounts, client contracts, financial information,

   proprietary algorithms, processes, and methodologies, operational structure, compensation plans,

   operational processes, workforce training materials, prospective and existing customers, sales

   pipeline, vendor lists, personnel information, marketing and sales techniques, systems, reports, and




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   business plans, among other confidential business information. Aspirion’s Confidential

   Information gives Aspirion competitive advantages over its competitors.

          17.      Specifically, all four Former Employee Defendants had access to some of the

   Company’s most secret and competitively sensitive information - prospective customer lists and

   intelligence about evolving and pending sales opportunities. Aspirion’s prospective customers are

   compiled in a cloud-based platform, SalesForce. The platform does not only include a list of the

   Company’s identified prospects, but also identifies key decision-makers at each prospect, and

   contains notes on each opportunity, information related to negotiation and pricing strategies, and

   data on prospective client needs, preferences, and buying behaviors. The Company has dedicated

   and continues to dedicate significant investment (both time and money), research, business

   intellect, client relationships and data collection efforts to compile the data captured in SalesForce.

   The information contained in Aspirion’s SalesForce platform, compiled over the course of two

   decades, gives the Company a competitive advantage over its competitors.

          18.     Aspirion protects the secrecy of its Confidential Information and its goodwill and

   client relationships from unfair competition by having its key employees execute agreements with

   non-solicitation and no-hire covenants.

          19.     Defendants Jewell and Cameron each signed employment agreements containing

   non-solicitation and no-hire covenants that extend for twelve (12) months following their

   separation from the Company. Their employment agreements also set forth their obligations with

   respect to the Company’s Confidential Information and specifically prohibited them from pursuing

   Aspirion’s corporate opportunities for their own benefit. True and correct copies of Jewell’s and

   Cameron’s employment agreements are attached to the Complaint as Exhibits 1 and 2.




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          20.       Aspirion also maintains robust policies and procedures to ensure employees protect

   its Confidential Information. As a condition of their employment with Aspirion, each of the four

   Former Employee Defendants reviewed and agreed to abide by the “Aspirion Acceptable Use

   Policy.” The purpose of the Acceptable Use Policy “is to outline the acceptable use of Aspirion

   data, devices and equipment, Aspirion’s information systems and Aspirion’s client’s information

   system.” The policy requires that “users maintain confidentiality indefinitely, even after the

   contract, work, employment, or any other aspect of involvement with Aspirion has ended.” A true

   and correct copy of the Acceptable Use Policy is attached to the Complaint as Exhibit 3.

          21.       The Acceptable Use Policy contains the following three prohibitions concerning

   Aspirion’s Confidential Information:

                •   Employees’ will not disclose confidential information, such as internal policies,
                    business correspondence, company announcements, without authorization and will
                    not use confidential information to compromise the organization in any way.

                •   Employees should not save or store confidential information in unsecure areas on
                    their computer such as in the “downloads” folder or on the user’s desktop and
                    should empty the computer’s “trash” regularly.

                •   Employees must not disclose confidential information to non –employees, family
                    members or organization outsiders without authorization from Aspirion
                    Management.

   Compl. Ex. 3, Acceptable Use Policy, Sec. XI(a)(i) (1), (3)-(4).

          22.       It also expressly provides that “Employees’ duty to protect confidential information

   will survive termination of employment and remain in effect until such information becomes

   public knowledge, or until Aspirion provides written notice releasing employee from the

   obligations set forth in this policy, whichever occurs first.” Compl. Ex. 3, Acceptable Use Policy,

   Sec. XI(a)(i)(2).

          23.       Each of the Former Employee Defendants indicated that they understood and would

   comply with the required “Aspirion Acceptable Use Policy.” See Complaint Exhibit 4, Acceptable


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    Use Policy and Training Acknowledgement Forms for M. Cameron, D. Jewell, M. Kelly and A.

    Mays.

            24.    The Employee Code of Conduct within the Aspirion Employee Handbook further

    underscores the Company’s commitment to protecting its Confidential Information. The

    “Employee Code of Conduct” specifically lists “[f]ailure to maintain confidentiality of information

    concerning other employees, customers, or the Company” as a violation of Company policy,

    punishable by termination. A true and correct copy of the Aspirion Employee Handbook, effective

    March 1, 2020, is attached to Complaint as Exhibit 5.

            25.    The Employee Code of Conduct likewise prohibits employees from obtaining

    “[o]ther employment that creates a conflict of interest or affects job performance”. Such

    employment is also punishable by termination. Id.

            26.    Between September 27, 2023 and January 30, 2024, all four Former Employee

    Defendants separated from Aspirion.

            27.    Jewell resigned from his position as Managing Attorney and Executive Director of

    Client Success effective September 27, 2023.

            28.    Kelly’s employment with Aspirion terminated on October 13, 2023, less than three

    weeks after Jewell’s.

            29.    One week later, on October 20, 2023, Mays’ resignation became effective.

            30.    Finally, Cameron’s employment with Aspirion terminated effective January 31,

    2024.

            31.    Beginning in late June 2024, I received several reports from various employees that

    at least six former Aspirion employees were observed as listed “users” in the databases and systems

    of certain Aspirion clients (“Accounting System”). I also learned that all of these former Aspirion




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    employees were listed with “@terniumrcm.com” email addresses or otherwise associated with the

    company named “Ternium RCM” or “TRCM.”

           32.     On or around June 20, 2024, Jeff Podraza, President and General Manager of

    Denials, informed me that the names of Former Employee Defendants Jewell, Mays, and Kelly

    had been observed as listed “users” in the Banner Health Accounting System. He also reported that

    two other former Aspirion employees, Alexis Elkins and Monica Duenas, had also been observed

    as listed “users” in the Banner Health Accounting System. I was told that all five of these

    individuals were listed as having “@terniumrcm.com” email addresses. I also learned from Jeff

    Podraza that, in the course of Aspirion team members working on claims assigned to Aspirion, our

    team members saw historical notes indicating that two claims currently assigned to Aspirion were

    previously assigned to Ternium in October 2022 and April 2023.

           33.     In response, at my direction, Aspirion immediately retained outside counsel and

    transmitted a cease-and-desist letter to Jewell on June 26, 2024. On July 26, 2024, Aspirion

    received a response to this letter. Counsel for Jewell claimed that the restrictive covenants in

    Jewell’s employment agreement were unenforceable, but did not deny that Jewell solicited

    Aspirion’s employees and clients.

           34.     On or around July 10, 2024, I received another report from Jeff Podraza indicating

    that Ternium had been retained to provide RCM services for a new Aspirion client, Baptist Medical

    Center of Jacksonville (“Baptist Jacksonville”). Specifically, I was informed that former Aspirion

    attorneys, Katherine Drolet and Alisha Mays, were listed as recipients on a training email sent by

    Baptist Jacksonville to all vendors. It is my understanding that Ms. Drolet and Ms. Mays were

    listed by their respective “@terniumrcm.com” email addresses on the meeting invite.




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             35.      These recent reports from June and July indicated to me that Defendants were

    targeting, soliciting, and hiring Aspirion employees. I also suspected that Defendants were

    targeting Aspirion clients.

             36.      Based on the foregoing information and my concerns, on July 12, 2024, I directed

    Aspirion IT to conduct a forensic investigation of the Former Employee Defendants’ Company

    email accounts and electronic files, to investigate the Former Employee Defendants’ misconduct

    and whether and to what extent the Former Employee Defendants’ activities had any connection

    to Ternium. The results of this investigation were shocking and are summarized in the paragraphs

    below.

             37.      Aspirion’s IT department uncovered evidence that the Former Employee

    Defendants began forming Ternium as early as 2022. Specifically, the forensic investigation

    uncovered the following:

                   a. In an email dated August 4, 2022, the Former Employee Defendants refer to each

                      other as “the Dream Team” and arranged to meet a prospective financial backer for

                      their new business venture. The August 4, 2022 email is attached as Exhibit A.

                   b. An email dated August 26, 2022, shows that Cameron engaged legal counsel

                      because he was “starting a new company” and needed “fair partnership

                      agreements.” The August 26 email is attached as Exhibit B.

                   c. In an email dated November 30, 2022, Cameron received a draft Non-Disclosure

                      Agreement titled “Ternium NDA” from outside employment counsel. The draft

                      agreement contains a signature block listing “Ternium, LLC” as a party and “Dave

                      Jewell” as the individual signing on behalf of “Ternium, LLC.” The November

                      2022 emails are attached as Exhibit C.




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                 d. An October 2023 email thread forwarded from Cameron’s wife to his Aspirion

                    email account shows that Cameron was using a “@terniumrcm.com” email address

                    while still employed at the Company. The October 2023 email is attached as

                    Exhibit D.

           38.      The investigation also uncovered evidence that the Former Employee Defendants

    were soliciting and signing Aspirion’s clients while still employed at the Company. This evidence

    includes:

                 a. A June 2023 email exchange between leadership at Children’s Hospital of Orange

                    County (“CHOC”) and Cameron showing that Jewell and Cameron had solicited

                    business from and were negotiating a contract with CHOC on behalf of Ternium as

                    early as April 2023 and while both were still employed at Aspirion. The June 2023

                    email exchange is attached as Exhibit E.

                 b. A February 1, 2024 email sent by Banner Health to former Aspirion employee

                    Liaran Aleman confirming Ms. Aleman had changed employers and updating her

                    credentials, lists the Ternium contract end date as September 7, 2027. This indicates

                    that the contract start date was September 7, 2023 and suggests that contract

                    negotiations began while all four Former Employee Defendants were still employed

                    by the Company. The February 1, 2024 email is attached as Exhibit F.

                 c. The July 10, 2024 meeting invite from Baptist Jacksonville listing as recipients

                    former Aspirion attorneys, Mays and Drolet at their “@terniumrcm.com” email

                    addresses, confirms that Ternium solicited and was awarded business from Aspirion

                    client, Baptist Jacksonville. The July 10, 2024 meeting invite is attached hereto as

                    Exhibit G.




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           39.      Aspirion IT also discovered evidence that the Former Employee Defendants and

    Ternium were targeting and soliciting business from the prospects listed in Aspirion’s SalesForce

    database and while still employed at Aspirion. For example, the following documents were

    uncovered:

                 a. Emails from January 2023, more than a year before Cameron would resign, show

                    Cameron (i) contacting one of Aspirion’s identified prospective clients, Valleywise

                    Health, based on “a note in our [Aspirion’s] database,” (ii) acknowledging that the

                    prospective client was assigned to a different Aspirion sales representative, Paul

                    Morino, and (iii) suggesting to the prospective client that it work with Cameron

                    instead. When the prospective client responds stating a preference to work with

                    Cameron rather than Mr. Morino, Cameron forwards the email to Kelly, Jewell and

                    Mays “for [their] entertainment.” The January 2023 Valleywise emails are attached

                    as Exhibit H.

                 b. Cameron was our sales executive assigned to University of New Mexico (“UNM”),

                    a new client Aspirion was trying to win. Cameron was responsible for Aspirion’s

                    Response for Proposal (“RFP”) submission for a public selection process UNM

                    conducted in 2023. July and August 2023 emails show that Cameron requested a

                    copy of Aspirion’s bid submitted in response to this RFP as well as other

                    discretionary denial bids    from Aspirion’s Marketing department. Cameron

                    received a complete set of bid documents, including a copy of the bid itself, pitch

                    materials, and master services agreement, in advance of UNM’s October 2023

                    supplemental RFP deadline. A February 7, 2024 letter from UNM notifies Aspirion

                    that it was not awarded the UNM contract and lists Ternium as one of the other




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                    bidding parties. Together, these communications indicate that the Defendants used

                    Aspirion’s bid to submit a competing bid on behalf of Ternium at a time when all

                    four were still employed by Aspirion. The July and August 2023 Emails are

                    attached as Exhibit I, and the February 2024 UNM letter is attached as Exhibit J.

                 c. Aspirion sales representative, Mr. Morino, opened a new sales opportunity to sell

                    denials services to Louisiana Children’s Medical Center (“LCMC”) in January

                    2023. A calendar invite from August 8, 2023 indicates that Mike Cameron met with

                    Bret Kelsey of LCMC over dinner, while still employed at Aspirion. A May 11,

                    2024 email sent from LCMC to Kelly’s Aspirion email and cc’ing her

                    “@terniumrcm.com” email, states that former Aspirion employee, Monica Duenas’

                    LCMC account is set to expire unless renewed for an additional 180 days. This

                    confirms that Ternium pursued and obtained a contract with LCMC, likely in the

                    fall of 2023 while all four Former Employee Defendants (but certain Cameron)

                    were still employed by Aspirion. Aspirion was not awarded business at LCMC. The

                    August 8, 2023 Dinner Invite and May 11, 2024 Email are attached as Exhibits K

                    and L.

           40.      Finally, Aspirion IT found evidence confirming the Former Employee Defendants,

    actively recruited and then hired Aspirion employees:

                 a. A January 11, 2024 email from former Aspirion employee Liaran Aleman’s

                    personal email account to her Aspirion email account attaching a Non-Disclosure

                    Agreement with Ternium, LLC demonstrates the Former Employee Defendants

                    were soliciting Ms. Aleman for employment. The January 2024 NDA email is

                    attached as Exhibit M.




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                 b. A February 1, 2024 email from Banner Health, sent merely 3 days after Ms.

                    Aleman’s January 29 resignation, stating that Ms. Aleman “no longer worked for

                    [Aspirion]” confirms that Ms. Aleman was hired to perform the same RCM services

                    to Banner Health as an employee of Ternium that she was providing while

                    employed at Aspirion just a few days prior. This suggests that Defendants

                    specifically targeted, solicited and hired Aspirion employees who were performing

                    the same work for certain clients that Ternium had contracted to perform and

                    suggests that the Defendants were doing so to redirect work from Aspirion to

                    Ternium. See Ex. G.

           41.      In addition to the results from Aspirion IT’s forensic investigation, in the last week

    I received additional reports that Aspirion clients, Children’s Medical Center Dallas and UC San

    Diego Health, have recently been contacted by Defendants.

           42.      These reports, together with the results of this internal IT investigation, confirmed

    for me that Jewell and Cameron were behind Ternium and that they were soliciting Aspirion

    employees, customers and prospects in breach of their restrictive covenants and using Aspirion’s

    Confidential Information for the benefit of Ternium. It is clear that Defendants’ collective business

    activities have harmed Aspirion’s business and continue to pose a real and continuing threat of

    harm to Aspirion’s business.

           43.      It was also clear to me that Ternium is directly competing against Aspirion.

    Aspirion’s core and most profitable line of business is Denials Management, with special emphasis

    on high-balance clinical denials. This line of business is very material to the Aspirion brand and to

    the valuation of our company. Based on the evidence gathered to date, it is clear to me that

    Defendants are 100% focused on diverting high-balance clinical denials away from Aspirion and




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    to Ternium and have been actively working to divert such business away from Aspirion for more

    than a year.

           44.      Over the past 12 months Aspirion has seen an 83% reduction in the aggregate

    claims dollar value placed with Aspirion from Banner Health and an 89% reduction from CHOC,

    two Aspirion clients the Defendants have solicited and won business from. The business that was

    awarded to Defendants was historically placed with Aspirion. Given that Aspirion is compensated

    on a contingency basis as a percentage of dollars ultimately collected on a denied claim they

    manage, this substantial reduction in the placement of claims at these two clients alone already has

    caused Aspirion significant economic harm.

           45.      Based on the evidence collected to date and described above, Aspirion determined

    that the Company’s legitimate business interests were at stake including, but not limited to, its

    relationships with existing and prospective Aspirion clients, workforce, and referral sources and

    its goodwill.

           46.      I initiated this lawsuit on behalf of Aspirion to protect Aspirion’s legitimate

    business interests.

           47.      There is an immediate and irreparable injury that will result to Aspirion that

    warrants the entry of a temporary restraining order to enjoin Defendants from (i) soliciting,

    interfering, inducing or attempting to cause any employee of Aspirion to leave his or her

    employment; (ii) soliciting, interfering, inducing or attempt to cause any client, customer, licensee,

    supplied or other business relation to terminate or reduce its business relationship with Aspirion;

    and (iii) disclosing or using any Aspirion trade secrets or other confidential or proprietary

    information acquired by the Former Employee Defendants during their employment with Aspirion.




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           I declare under penalty of perjury that the foregoing is true and correct to the best of my

    knowledge and belief.



           Dated: July _________, 2024                  ________________________________

                                                        Amy Amick, CEO




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                             EXHIBIT A
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     From:                  Kathy Cameron
     To:                    Michael Cameron
     Subject:               Fwd: Introduction with Gary Busacca for Mike, Megan, and Alisha
     Date:                  Thursday, August 4, 2022 5:07:31 PM




     CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender
     and know the content is safe.
     ENCRYPT all PHI, PII, and/or confidential information to outside sources.




     Sent from my iPhone

     Begin forwarded message:


              From: Dave Jewell <davemjewell@yahoo.com>
              Date: August 4, 2022 at 4:03:05 PM CDT
              To: Alisha Mays <alisha.m.mays@gmail.com>, msimoson09@gmail.com, Dave
              Jewell <davemjewell@yahoo.com>, kcameron327@gmail.com
              Subject: Introduction with Gary Busacca for Mike, Megan, and Alisha



              Hey Dream Team,

              Gary can meet with us tomorrow morning at 9:30am EST/8:30am CST.
              Feel free to use the below google link to attend.  

              Looking forward to it!
              Dave



              https://meet.google.com/dri-avym-cfh
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                              EXHIBIT B
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     From:                  Michael Cameron
     To:                    Lindy Duffney
     Cc:                    Megan Fooshee
     Subject:               RE: Referral/Intro
     Date:                  Friday, August 26, 2022 5:00:02 PM


     Hi Linda and Megan,

     Nice to meet you both virtually.  

     Let’s touch base in a couple of weeks when I have more info.   My cell is below and my personal
     email is mcameron0305@gmail.com

     Thanks
     Michael

     From: Lindy Duffney <lindy@katzenfooshee.com>
     Sent: Friday, August 26, 2022 3:18 PM
     To: Michael Cameron <michael.cameron@aspirion.com>
     Cc: Megan Fooshee <megan@katzenfooshee.com>
     Subject: Re: Referral/Intro


     CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender
     and know the content is safe.
     ENCRYPT all PHI, PII, and/or confidential information to outside sources.


     Hello Michael,

     A new company? That is exciting! Megan can absolutely help with this. Are you available on Monday
     (8/29) for a quick call with Megan? She has time from 9 AM - 11 AM, and then again between 1 PM -
     2:30 PM. If Tuesday (8/30) works better, she is available between 10 AM -3 PM.

     Thank you,

     Lindy Duffney | Paralegal
     Katzen Fooshée, PLLC
     14800 Quorum Drive, Suite 450
     Dallas, Texas 75254
     lindy@katzenfooshee.com



     On Fri, Aug 26, 2022 at 3:10 PM Megan Fooshee <megan@katzenfooshee.com> wrote:

        Yes! @Lindy Duffney will help respond for me!
        Megan Fooshée

        Office: 214.932.6583
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       Find me on LinkedIn




       On Thu, Aug 25, 2022 at 6:47 PM Scott Schwob <SSchwob@schwob.com> wrote:

         Megan,
         I would like to introduce you to Mike Cameron a neighbor and good friend, Mike is starting a
         new company and could use your amazing knowledge, attitude and negotiating abilities to get
         fair partnership agreements in place.

         Ill let you take it from here.

         Hope all is well

         I guessed at your new email address. Let us know if that is the new email.

         Thank You!

         Scott

         Scott Schwob
         SCHWOB COMPANIES – New address!
         1350 Lakeshore Drive, Suite 160
         Coppell Texas 75019
         P: 972-243-7674 • F: 972-243-7710
         www.schwob.com
         Genuine Relationships. Superior Services. Environmentally Aware.

         P If you must print this email, please recycle.
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                              EXHIBIT C
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     From:                  Lindy Duffney
     To:                    Michael Cameron
     Cc:                    Megan Fooshee
     Subject:               Ternium NDA | Redlined Changes
     Date:                  Wednesday, November 30, 2022 3:31:03 PM
     Attachments:           Ternium NDA 20221114 1v2 redline.docx




     CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender
     and know the content is safe.
     ENCRYPT all PHI, PII, and/or confidential information to outside sources.


     Hi Mr. Cameron,

     Attached is the Ternium NDA containing Megan's redlined edits. If you do not immediately
     see the red and blue lined content when you open the document, simply navigate the cursor to
     the toolbar at the top of the page and click on the "Review" tab. Then, enable the redline
     feature by clicking the "Track Changes" icons. If you need additional assistance viewing the
     redlined changes, please let me know and I will be happy to help.

     The red, struck-through items have been deleted by Megan. The blue, underlined items have
     been added. Please let us know if you have any questions or concerns.

     Thank you,

     Lindy Duffney | Paralegal
     Katzen Fooshée, PLLC
     14800 Quorum Drive, Suite 450
     Dallas, Texas 75254
     lindy@katzenfooshee.com
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   MUTUAL NON-CIRCUMVENTION, NON-DISCLOSURE, AND CONFIDENTIALITY
                           AGREEMENT

 This CONFIDENTIALITY AGREEMENT is entered into effective November 14, 2022 (the
 “Effective Date”) by and between Ternium, LLC its successors, and assigns and
 _____________________________ (collectively the “Parties”).

 WHEREAS, the Parties desire to discuss certain matters regarding potential business
 transactions between them and/or other third parties (the “Potential Transaction”); and

 WHEREAS, in connection with these discussions, certain confidential and proprietary
 information regarding each party, as well as other third party businesses, may be disclosed to the
 other to assist in the evaluation of the potential business transactions; and

 WHEREAS, the parties desire to establish the terms under which they will disclose certain
 confidential and proprietary information.

 NOW THEREFORE, in consideration for the mutual promises contained herein, and other
 good and valuable consideration, receipt of which is expressly acknowledged, the parties hereby
 agree and covenant as follows:

 Section 1. Confidential Information. Confidential Information shall mean:

 (a) any data or information that is competitively sensitive material, and not generally known to
 the public, including, but not limited to, products planning information, marketing strategies,
 plans, finance, operations, customer relationships, customer profiles, sales estimates, business
 plans, and internal performance results relating to the past, present or future business activities of
 the parties, their parent corporations if applicable, their subsidiaries and affiliated companies and
 the customers, clients and suppliers of any of the foregoing; and

 (b) any scientific or technical information, design, process, procedure, formula, or improvement
 that is commercially valuable and secret in the sense that its confidentiality affords the applicable
 party a competitive advantage over its competitors; and

 (c) all confidential or proprietary concepts, documentation, reports, data, specifications,
 computer software, source code, object code, flow charts, databases, inventions, information,
 know-how, show-how and trade secrets, whether or not patentable or copyrightable and
 regardless of whether such information is a Party’s property or the property of a third-party
 supplier (such as a software licensor), and regardless of whether such information is specifically
 marked or identified as confidential.

 Confidential Information includes without limitation, all of the Parties’ documents, strategies,
 marketing, processes, protocols, policies, technical specifications, algorithms, inventions,
 equipment, prototypes and models, and any other tangible manifestation of the foregoing,
 whether now existing or arising in the future.
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 Confidential Information also includes conversations about the purchase or sale of any or all
 assets of other third-party businesses as well as any documentation, materials, and/or information
 disclosed on behalf of said third parties.

 Neither Ternium, nor any of their employees, affiliates, or representatives make any
 representation or warranty as to the accuracy or completeness of Confidential Information from
 any such third party business, and each party expressly disclaims any and all liability based on
 such information or an omission there from.

 Section 2. Confidentiality Obligations. Except as expressly authorized by prior written consent
 of the supplying party, the receiving party shall:

 (a) limit access to any Confidential Information received by it to its employees or third parties
 who have a need-to-know in connection with the evaluation of the potential business transaction,
 and only for use in connection therewiththe Potential Transaction; and

 (b) Advise its employees or third parties having access to the Confidential Information of the
 proprietary nature thereof and of the obligations set forth in the Confidentiality Agreement; and

 (c) take appropriate action by instruction or agreement with its employees or other parties having
 access to the Confidential Information to fulfill its obligations under this Confidentiality
 Agreement; and

 (d) safeguard all Confidential Information received by it using a reasonable degree of care, but
 not less than that degree of care used by the receiving party in safeguarding its own similar
 information or material; and

 (e) use all Confidential Information received by it solely for purposes of evaluating the potential
 business transactions with the supplying party and for no other purpose whatsoever; and

 (f) not disclose any Confidential Information received by it to third parties without prior written
 consent by supplying party; and

 (g) not disclose the existence of the discussions to any third party; and

 (h) be responsible for any breach of the terms hereunder by the receiving party or any person
 who receives any Confidential Information from the receiving party.

 The receiving party shall be responsible for, and shall not be excused or relieved from the
 foregoing obligations by reason of any improper, unlawful, illegal, fraudulent or criminal
 conduct by any of its employees or any other third party with access to the receiving party’s
 facilities. The receiving party shall give the supplying party immediate notice of any
 unauthorized use or disclosure of any Confidential Information.

 Except as prohibited by law, regulation or Exchange rule binding upon the receiving party, upon
 the request of the supplying party, the receiving party shall (i) surrender to the supplying party
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 all memoranda, notes, records, drawings, manuals and other documents or materials (and all
 copies of same) pertaining to or including the Confidential Information and (ii) destroy all
 memoranda, notes, records, drawings, manuals, records, and other documents or materials (and
 all copies of same) prepared by receiving party or any person who received any Confidential
 Information from the receiving party based on any information in the Confidential Information.
 Upon the return or destruction of such materials, the receiving party agrees to certify, in writing,
 that all of the foregoing materials have been surrendered to the supplying party.

 Section 3. Exceptions to Confidentiality. The obligations of confidentiality and restriction on
 use in Section 2 shall not apply to any information that the receiving party proves:

        (a) Was in the public domain prior to the date of this Agreement or subsequently came
        into the public domain through no fault of the receiving party, or

        (b) Was lawfully received by the receiving party from a third party free of any obligation
        of confidence to such third party; or

        (c) Was already in the possession of the receiving party prior to receipt thereof, directly
        or indirectly, from the supplying party; or

        (d) Is required to be disclosed to any governmental agency pursuant to applicable laws
        or regulations, or is required to be disclosed in a judicial or administrative proceeding
        after all reasonable legal remedies for maintaining such information in confidence have
        been exhausted , at the supplying party’s expense, including, but not limited to, (and
        except where such notice is prohibited by law, regulation or Exchange rule binding upon
        the receiving party) giving the supplying party as much advance notice of the possibility
        of such disclosure as practical so the supplying party may attempt to obtain a protective
        order at supplying party’s expense concerning such disclosure, or take such other actions
        as necessary to stop such disclosure or to assure confidential handling of such
        Confidential Information at supplying party’s expense; or

        (e) Is subsequently and independently developed by employees, consultants or agents of
        the receiving party without reference to the Confidential Information disclosed under this
        Agreement, such burden of proof to be on the party claiming this exclusion.

 Section4. Rights in Confidential Information. Except as specifically provided for herein, this
 Agreement does not confer any right, license, interest or title in, to or under the Confidential
 Information to the receiving party. Except as specifically provided for herein, no license is
 hereby granted to the receiving party, by estoppel or otherwise under any patent, trademark,
 copyright, trade secret or other proprietary rights of the supplying party. Title to the Confidential
 Information shall remain solely in the supplying party, even if suggestions, comments, ideas or
 other improvements made by the receiving party are incorporated into the Confidential
 Information or related materials, unless otherwise agreed to in writing by the parties.

 Section 5. Indemnity by the Receiving Party. The receiving party agrees to indemnify and hold
 harmless the supplying party from and against any and all losses, claims, damages and expenses
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                              EXHIBIT E
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    From:
    To:              Michael Cameron
    Subject:         FW: RCMSA-09.01.2023-UPDATED #2
    Date:            Friday, September 8, 2023 4:59:41 PM
    Attachments:     image001.png
                     image002.png
                     image003.png



                                                                CAUTION: Message is from External Sender
                                                                Do NOT click links or open attachments from an unknown or unexpected sender. Report suspicious e-mails using the Phish-Alert button in Outlook.


                                                                ENCRYPT all PHI, PII, and/or confidential information to outside sources.
    Mike,
    These are the notes in the system that Maggie got for me. Scroll down to the end. You are welcome to share this with Dave, but don’t share this back with Maggie or Barb as I should not be sharing. The contract won’t go to legal until ARC signs off on it.




    ….Notes after 06/21:
    06/21/2023- Recvd email from Stacey in ARC: Good morning team,
    We just wanted to follow up with you regarding the contract review for Ternium. Yesterday we had our assessment call with Ternium. At this point, we are waiting for Ternium to share some security reports with us. We will send another update soon.
    Thank you,
    Stace
    06/26/2023-Received email from Michael Cameron advising that security documents sent to ARC
    07/06/2023-Received email from Michael Cameron asking status of security documents with ARC.Responded to Michael- No update yet.
    07/12/2023- Sent email to Stace in ARC asking for status.
    07/12/2023- Stace from ARC responded-Good morning team,
    We just wanted to follow up with you regarding the contract review for Ternium. Yesterday we had our assessment call with Ternium. At this point, we are waiting for Ternium to share some security reports with us. We will send another update soon.
    Thank you,
    Stace
    07/12/2023- Received email from Dace re: aws certification that he sent to ARC. Also sent it to me for reference. Frowarded to Stacey in ARC to make sure she got it.
    07/13/2023- Received emil from Stacey in ARC: Hello Barbara,
    I hope you are doing well.   Thank you for the attachment. We did receive that doc but I believe we are waiting for another report for our Security team to review.
    @Ray, I am on PTO tomorrow. If you happen to get an update while I am out, will you please update Barbara and Terry on this thread?
    Thank you,
    Stace
    07/17/2023-Received email from Dave asking status of ARC.
    07/17/2023- Sent back message to Dave- no updates yet.
    07/17/2023-Received email form Michael at Ternium: Ok sounds good. I think the next step when we are approved by ARC is we are put into your legal department for approval if that is correct?    So, maybe we are already in legal but let us know what you think.
    Thanks
    Michael
    7/17/2023- Responded back to Michael- yes- those are the steps.
    07/21/2023- Received email from Ray in ARC: Barbara,
    When we met with the vendor and the workflow was discovered to deal with CHOC patient data, it was revealed that their security documentation was limited. When additional documentation was provided to CHOC, it was generic information from their hosting service;
    however, ISD always asks for specific security documentation (audits, penetration tests, HIPAA certification, HITRUST certification, etc) regarding the vendor’s application and environment.
    If Ternium is unable to provide this, our Infosec team may have to conduct a manual audit of their environment which would be the next step. I hope this helps clarify the status further. Please let us know if you would like any more information.
    Sincerely,
    -Ray
    07/21/2023-Sent response above to Michael and Dave at Ternium.
    07/21/2023- Responded to Ray in ARC- Asking if he sent this required info needed to Ternium.
    07/26/2023-Email from Ray in ARC- Good morning Barbara, I apologize for the delay in my response. The follow-up items were a direct inquiry from our Infosec team so I do not have any additional info for you to relay. We will check today for an update on this.
    -Ray.
    07/26/2023- Sent response to Ray in ARC: Hi Ray- I’ve been in communication with vendor. Please see below and advise:
    From Ternium
    Barbara,
    I hope all is well.  
    Just to provide you an update, we should have all the security documents/policies in the next week or so.    Dave may have more to add but it is a priority for us and we should have very soon.   We would submit those back to you or someone at the ARC team?   Not sure
    about the audit route as an option but we’ll need the security documents in the future regardless.  
    Thanks
    Michael
    07/26/2023- Email to Ternium: Hi Michael,
    You should send to InfoSec and ARC team. CC me if you want to.
    Have a great day!
    07/26/2023- From Ternium-Hi Barbara,
    We understand our documentation was a little short, but we have engaged with a compliance firm to conduct our system and security audits and assist in building out the policies and documentation. I should have an update for you Friday afternoon or early next week. This
    is our number one priority so we will move this along as quickly as possible.
    Thanks!
    Dave
    08/02/2023- From Ray in ARC-Good morning Barbara,
    I checked our third-party security portal just now to see if any additional artifacts, audit reports, or security certifications had been provided by Ternium for review; however, it appears this is still in progress. I have also cc’d Daniel & Melissa, who have performed the original
    assessment with Ternium and can resend the upload link to David Jewell just as a courtesy.
    08/02/2023-Forwarded above into to Ternium.
    08/09/20232- Received email from ARC advising us that they received an email from Ternium: Hi Daniel,
    I’m still working on getting you a more specific certificate for our account system. However, I just sent over all of our compliance and security policies to assist with additional reviews.
    Also, I wanted to let you know that we are going through a third-party security and compliance assessment right now as part of our corporate initiative to pursue HiTrust certification in the next 12 months. So the policies I’ve provided are as of today, but are also subject to
    change as we supplement and improve our policies over the next 30 days.
    More than happy to discuss or provide any additional information you may need. Please let me know if you have any questions.
    Hope everyone has a great weekend!
    Dave
    08/14/2023-Recvd email from Ternium with cc to ARC: Daniel and CHOC team,
    Happy Monday and hope all is well.
    Dave and I just wanted to follow up on the documents sent over about 10 days ago to see if you have any questions or maybe we are in the clear now from a security perspective.
    Thanks
    Michael
    08/14/2023- From ARC/Security team to Ternium: Hi Michael,
    I don’t see anything else in the folder link we provided except the AWS SOC 2:
    08/14/2023-From Ternium to ARC security team: Hi Daniel,
    I’m not sure what happened there, but I’ve just placed additional files in the link you provided below. Please take a look and we can connect with any questions or clarifications.
    Also, we are currently undergoing a HIPAA security assessment from a third party, so we should have a report on that in the next few weeks. It is our intent to pursue HITRUST certification within the next year so we are working towards the highest levels of security
    compliance available.
    Thanks,
    Dave
    08/14/2023-From Daniel in Secuity to Ternium: Hey Dave,
    Good deal. I got the notification and will place those files in the assessment in Censinet. I hope your assessments go well.
    Thank you!
    Daniel Hudgins
    Service Lead, Third-Party Risk Management
    Fortified Health Security
    C: 931-994-9147
    dhudgins@fortifiedhealthsecurity.com- STILL IN ARC
    08/18/2023- Received email from Vendor to ARC. Good afternoon Daniel,
    I just obtained some additional security documentation for our Simplicity system. If you can provide another link I can drop those new documents in there pretty quickly.
    Thanks and have a great weekend!
    Dave
    08/24/2023-Daniel Hudgins sent email to Dave and Michael: Hey Dave and Michael,
    Here is a link to upload any additional documents: https://fortifiedhealthsecurity.egnyte.com/ul/b2bI4WMAhu
    Michael,
    Per Ray’s message, CHOC was wanting a SOC2 Type 2 of your application, not just an AWS SOC2.
    “ On Jun 28, 2023, at 10:17 PM, Ray De La Cruz <RDeLaCruz@choc.org> wrote:
    Dave,
    Upon review of the provided SOC2TYPE2, this is for AWS not for your application. Our Infosec team is requesting the SOC2TYPE2 for your Ternium application, if this is available. Please let us know if this can be uploaded.”
    Thanks,
    Daniel
    Daniel Hudgins
    Service Lead, Third-Party Risk Management
    Fortified Health Security
    C: 931-994-9147
    dhudgins@fortifiedhealthsecurity.com
    08/25/2023-From Dave to Daniel: Subject: RE: CHOC System Assessment Call: #899 Ternium, LLC (Contract Review)
    Hi Daniel,
    Just sent over some additional supporting compliance/security documentation for our account work flow system. Just to be clear, we do not have an application that we are leveraging to support CHOC or something that will directly interface with CHOC’s network or
    systems. The documents I just sent over are related to our account work flow system, that we use internally to support our services. It is that system that is hosted through AWS. I hope the documentation and that clarifies things a little bit in case there was any confusion.
    Appreciate all your efforts and always more than happy to connect to discuss our security parameters. We are currently going through a full HIPAA compliance assessment and will be able to share those results sometime in September.
    Thanks and I hope everyone has a great weekend!
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     From:             Service Hub
     To:               Liaran Aleman; Chuck.Galloway@bannerhealth.com
     Subject:          RITM1436598 has been fulfilled - We have a vendor user who has left that vednot to work for another one. Can
                       we have this person"s Contract and Email updated to
     Date:             Thursday, February 1, 2024 12:31:33 PM
     Attachments:      image.png
                       image.png



     CAUTION: Message is from External Sender
     Do NOT click links or open attachments from an unknown or unexpected sender. Report suspicious e-mails using
     the Phish-Alert button in Outlook.


     ENCRYPT all PHI, PII, and/or confidential information to outside sources.




                                                        Notification


     Your request item has been fulfilled
     Please review your request item to confirm if completed. If you have any questions,
     please contact Ritesh Yadav within 10 business days.



     Summary of Details
     Requested for: Aleman Liaran

     Opened by: Charles Galloway

     Preferred contact number: 561 486 7939

     Location: Banner Corporate Center Mesa

     Urgency: Low

     Brief description: We have a vendor user who has left that vednot to work for another one. Can we have
     this person's Contract and Email updated to the new vendor? User's BHS IS venLiaran and was with
     Aspirion but has moved to Ternium LMS# 0101-08-188365 Contract end date 09/07/2027. New email is
     liaran.aleman@terniumrcm.com and new phone # is 786-493-3321

     Close Notes: Updated Aleman Liaran Email and Phone number to liaran.aleman@terniumrcm.com and
     new phone # is 786-493-3321.
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     From:             Hoverter, Jennifer
     To:               Drolet, Katherine; Alisha Mays; Katherine Drolet; Loren Tock; teamsvisitor:492f9d55a02f40f38bcfe918aafb7168;
                       Wanda Graham; Katelyn Lifton; Hoverter, Jennifer; Nicholas Malaby; Mikie McBride; Tiffany Leffler; Heather
                       Jackson
     Subject:          Meeting (ScheduledMeeting)/Thread Id:
                       19:meeting_YTM5NzliYmYtMTM5MC00MzQ4LWFiZGMtYmE0MjIwNjA3NzVh@thread.v2/Communication Id:
                       f5df9879-6b64-482b-9d0b-33d46df33d2e/Drolet, Katherine,Alisha Mays,Katherine Drolet,Loren
                       Tock,teamsvisitor:492f9d55a02f40f38b...
     Date:             Wednesday, July 10, 2024 11:36:54 PM




     Start Time (UTC): 7/10/2024 4:54:28 PM
     End Time (UTC): 7/10/2024 8:04:51 PM
     Duration: 03:10:22.7572225

     [7/10/2024 4:54:28 PM (UTC)] Katherine.Drolet@bmcjax.com joined.
     [7/10/2024 5:00:38 PM (UTC)] Katherine.Drolet@bmcjax.com left.
     [7/10/2024 4:59:51 PM (UTC)] alisha.mays@terniumrcm.com joined.
     [7/10/2024 4:59:53 PM (UTC)] alisha.mays@terniumrcm.com left.
     [7/10/2024 5:03:05 PM (UTC)] Katherine.Drolet@bmcjax.com joined.
     [7/10/2024 5:04:29 PM (UTC)] Katherine.Drolet@bmcjax.com left.
     [7/10/2024 5:09:05 PM (UTC)] Katie.Drolet@terniumrcm.com joined.
     [7/10/2024 5:15:43 PM (UTC)] Katie.Drolet@terniumrcm.com left.
     [7/10/2024 4:58:25 PM (UTC)] Loren.Tock@terniumrcm.com joined.
     [7/10/2024 8:02:19 PM (UTC)] Loren.Tock@terniumrcm.com left.
     [7/10/2024 5:00:08 PM (UTC)] teamsvisitor:492f9d55a02f40f38bcfe918aafb7168 joined.
     [7/10/2024 8:04:49 PM (UTC)] teamsvisitor:492f9d55a02f40f38bcfe918aafb7168 left.
     [7/10/2024 4:55:48 PM (UTC)] wanda.graham@aspirion.com joined.
     [7/10/2024 8:04:36 PM (UTC)] wanda.graham@aspirion.com left.
     [7/10/2024 5:17:23 PM (UTC)] Katie.Drolet@terniumrcm.com joined.
     [7/10/2024 8:01:12 PM (UTC)] Katie.Drolet@terniumrcm.com left.
     [7/10/2024 4:58:26 PM (UTC)] katelyn.lifton@aspirion.com joined.
     [7/10/2024 8:02:23 PM (UTC)] katelyn.lifton@aspirion.com left.
     [7/10/2024 4:56:37 PM (UTC)] Jennifer.Hoverter@bmcjax.com joined.
     [7/10/2024 8:04:51 PM (UTC)] Jennifer.Hoverter@bmcjax.com left.
     [7/10/2024 5:00:51 PM (UTC)] nicholas.malaby@aspirion.com joined.
     [7/10/2024 8:01:55 PM (UTC)] nicholas.malaby@aspirion.com left.
     [7/10/2024 5:00:49 PM (UTC)] mikie.mcbride@aspirion.com joined.
     [7/10/2024 8:04:16 PM (UTC)] mikie.mcbride@aspirion.com left.
     [7/10/2024 4:55:09 PM (UTC)] Tiffany.Leffler@terniumrcm.com joined.
     [7/10/2024 8:03:54 PM (UTC)] Tiffany.Leffler@terniumrcm.com left.
     [7/10/2024 4:57:28 PM (UTC)] hjackson98@r1rcm.com joined.
     [7/10/2024 8:04:13 PM (UTC)] hjackson98@r1rcm.com left.
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                             EXHIBIT H
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     From:                  Dave Jewell
     To:                    Michael Cameron; Alisha Mays
     Subject:               RE: Vegas and Phoenix
     Date:                  Tuesday, January 17, 2023 1:53:50 PM
     Attachments:           image001.png
                            image002.png
                            image003.png
                            image004.png


     Oh that’s hilarious.


     From: Michael Cameron <michael.cameron@aspirion.com>
     Sent: Tuesday, January 17, 2023 12:51 PM
     To: Dave Jewell <dave.jewell@aspirion.com>; Alisha Mays <alisha.mays@aspirion.com>
     Subject: FW: Vegas and Phoenix

     FYI for your entertainment…



                                       Michael Cameron • Senior Vice President of Sales
                                       Direct: (972) 489-1995 • Fax: (561) 701-9455
                                       michael.cameron@aspirion.com • www.aspirion.com




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     this communication in error, please notify the sender immediately by returning this email to the sender and delete the original message and attachments.


     From: Michael Cameron
     Sent: Tuesday, January 17, 2023 10:40 AM
     To: Megan Kelly <megan.kelly@aspirion.com>
     Subject: FW: Vegas and Phoenix

     FYI

     From: Amanda De Los Reyes <Amanda.DeLosReyes@valleywisehealth.org>
     Sent: Tuesday, January 17, 2023 9:52 AM
     To: Michael Cameron <michael.cameron@aspirion.com>
     Subject: RE: Vegas and Phoenix


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     ENCRYPT all PHI, PII, and/or confidential information to outside sources.
     Hi Michael-

     I think my admin may have thought you were both working together, as I did as well.

     I would prefer to work with you as we already have a relationship.

     Is there a way we can have this changed?

     Thanks!

     From: Michael Cameron <michael.cameron@aspirion.com>
     Sent: Tuesday, January 17, 2023 8:49 AM
     To: Amanda De Los Reyes <Amanda.DeLosReyes@valleywisehealth.org>
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     Subject: RE: Vegas and Phoenix

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                                              could be a phishing email.

                      Do not click links or open attachments unless you recognize the sender and know the content is safe.


     Hi Amanda,

     Ok, maybe I’ll see you in Vegas.

     As a prospective client, you have a choice of who you work with at Aspirion but it sounds like Paul already has you covered.    Best
     of luck and let me know if there is anything I can ever do to help.

     Michael

                                       Michael Cameron • Senior Vice President of Sales
                                       Direct: (972) 489-1995 • Fax: (561) 701-9455
                                       michael.cameron@aspirion.com • www.aspirion.com




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     From: Amanda De Los Reyes <Amanda.DeLosReyes@valleywisehealth.org>
     Sent: Tuesday, January 17, 2023 9:18 AM
     To: Michael Cameron <michael.cameron@aspirion.com>
     Subject: RE: Vegas and Phoenix


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     ENCRYPT all PHI, PII, and/or confidential information to outside sources.
     Hi Michael-

     Nice to hear from you!

     I will try to swing by Monday night, I am committed to dinners Sunday through Tuesday. If I can’t swing by Monday night, perhaps
     we can get together when you are in Phoenix.

     I do have a meeting with Paul today at 11am MST.

     Thanks!




     Amanda De Los Reyes, MBA, CRCR
     VP Revenue Cycle
     Pronouns: She/Her/Hers

     Valleywise Health - Tempe Diablo, Bldg A
     2900 South Diablo Way, Suite A102
     Tempe, AZ 85282
Case 1:24-cv-22875-CMA Document 1-13 Entered on FLSD Docket 07/29/2024 Page 45 of 62



     Phone: 602-344-2863
     Cell: 503-320-5939

     Valleywisehealth.org




     From: Michael Cameron <michael.cameron@aspirion.com>
     Sent: Monday, January 16, 2023 2:36 PM
     To: Amanda De Los Reyes <Amanda.DeLosReyes@valleywisehealth.org>
     Subject: Vegas and Phoenix


       CAUTION: External Email. This Email originated outside of Valleywise Health. THINK BEFORE YOU CLICK. It
                                              could be a phishing email.

                      Do not click links or open attachments unless you recognize the sender and know the content is safe.


     Hi Amanda,

     Thanks for sending the email and congrats again on the new career change.    Should be nice right now in Phoenix if you have
     moved there.    

     I’ll be at Western Region in Vegas so let me know if you want to get a drink or dinner while out there.    We have our event that
     Monday night if you can make it.   The week of the 30th, I’ll be in Phoenix for company meeting if you have some availability that
     week as well.

     Also, do you have meeting with Paul Morino from my company later this week?    I see a note in our database but not sure it is real
     or updated.

     Thanks
     Michael




                                       Michael Cameron • Senior Vice President of Sales
                                       Direct: (972) 489-1995 • Fax: (561) 701-9455
                                       michael.cameron@aspirion.com • www.aspirion.com




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                              EXHIBIT I
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From:                                         Erin Haynie <erin.haynie@aspirion.com>
Sent:                                         Wednesday, July 19, 2023 11:28 AM
To:                                           Michael Cameron
Subject:                                      RE: Discretionary Denials RFP
Attachments:                                  UNM RFP Response_Clinical Denial Appeals and Payment Variance Services.docx


Hi Michael,

I’m sorry for the delay, my head is oﬃcially underwater with work.

Are there other RFP speciﬁc to discre onary denials that you can think of?

Thanks,
Erin

                                  Erin Haynie, Sales • Vice President of Marketing
                                  Direct: 706-256-5203 • Fax: 706-324-3291
                                  erin.haynie@aspirion.com • www.aspirion.com




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received this communication in error, please notify the sender immediately by returning this email to the sender and delete the original message and attachments.


From: Michael Cameron <michael.cameron@aspirion.com>
Sent: Tuesday, July 18, 2023 9:13 AM
To: Erin Haynie <erin.haynie@aspirion.com>
Subject: Discretionary Denials RFP

Hi Erin,

Can you send over the ﬁnal version of the Univ of New Mexico RFP for denials? I’ll take others (discre onary denials) as
well but another prospec ve client is asking.

Thanks
Michael



                                  Michael Cameron • Senior Vice President of Sales
                                  Direct: (972) 489-1995 • Fax: (561) 701-9455
                                  michael.cameron@aspirion.com • www.aspirion.com




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                                                                                 2
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From:          Erin Haynie <erin.haynie@aspirion.com>
Sent:          Saturday, August 12, 2023 10:00 AM
To:            Michael Cameron
Subject:       UNM RFP Response
Attachments:   UNM Exhibits.zip; UNM RFP Response_Clinical Denial Appeals and Payment Variance Services.docx




                                                    1
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                              EXHIBIT J
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     From:                Angela A Eckhardt
     To:                  "michael.cameron@aspirion.com"
     Subject:             RFP 485-23 Clinical Denial Appeals and Payment Variance Services
     Date:                Wednesday, February 7, 2024 6:23:20 PM
     Attachments:         image001.png
                          Aspirion.pdf




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     Michael,

     Good afternoon. Please see attached letter. If you have any questions feel free to reach out.



     Thank you,




     Angela A. Eckhardt

     Procurement Specialist

     UNM Hospital Purchasing Department

     aaeckhardt@salud.unm.edu <mailto:aaeckhardt@salud.unm.edu>
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Purchasing Department
933 Bradbury Dr. SE, Suite 3165
Albuquerque, NM 87106

February 7, 2024

Michael Cameron SVP Sales
michael.cameron@aspirion.com
Aspirion Health Resources, LLC
1506 6th Avenue, Suite 3
Columbus, GA 31901

RE: Notice of Award UNMH RFP 485-23, Clinical Denial Appeals and Payment Varience
Services

The following suppliers submitted responses to the above solicitation:
                  Vendor                                    Points
Aspirion                                        57.50
Bottom Line Systems, LLC                        46.75
Cognizant                                       50.50
Engage Health Solutions,                        36.00
LLC
Managed Resources, Inc.                         63.50
Med Metrix                                      43.25
Optum                                           34.00
Savista                                         71.00
Ternium LLC                                     52.75

Responses were evaluated according to the criteria stated in the solicitation. We announce award to: Savista

We would like to thank each supplier for your time and efforts in preparing a response to this
solicitation. We invite you to contact us if you would like additional information or have any questions
about the evaluation process. We appreciate your interest in doing business with The University of New
Mexico Hospital.

Sincerely,



Angela A. Eckhardt
Procurement Specialist
UNM Hospitals
Purchasing Department aaeckhardt@salud.unm.edu
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                             EXHIBIT K
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From:                   Bret Kelsey <bret.kelsey@lcmchealth.org>
Sent:                   Saturday, July 22, 2023 8:34 AM
To:                     Michael Cameron
Subject:                Accepted: Gerrit, Megan and Mike Dinner




                                                1
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                              EXHIBIT L
Case 1:24-cv-22875-CMA Document 1-13 Entered on FLSD Docket 07/29/2024 Page 56 of 62


     From:             LCMC Provisioning Requests
     To:               Megan Kelly
     Cc:               megan.kelly@terniumrcm.com
     Subject:          Expiring LCMC User Account – Needs Attention
     Date:             Thursday, April 11, 2024 2:54:58 PM
     Importance:       High



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     You are identified as an LCMC sponsor for the affiliate(s) account that are set to expire and become disabled:

     imf_legal_first_name imf_legal_last_name contract_end_date                  external_company             manager_email_address
            Alexis                Elkin           5/11/2024                           Ternium                 megan.kelly@aspirion.com


     Please review these accounts. If you wish to extend the expiration of specific accounts, go to MyIT Service portal
     https://lcmchealth.service-now.com/sp – select I need something – User Access and Provisioning -Add/Modify
     Access and request the Extend affiliate (non-employee) access. Requested accounts will be extended 180 days. If the
     extension should be less than 180 days, please provide the end date.

     IMPORTANT: If there is no response each account will expire and become disabled on the date indicated above.

     Please do not reply to this email!

     Thank you,




     This message was secured by Zix®.
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                             EXHIBIT M
Case 1:24-cv-22875-CMA Document 1-13 Entered on FLSD Docket 07/29/2024 Page 58 of 62


     From:               Liaran Aleman
     To:                 Liaran Aleman
     Subject:            Re: documento que necesito
     Date:               Thursday, January 11, 2024 10:05:52 AM
     Attachments:        RSImage-12945613.png
                         RSImage-12939853.png
                         RSImage-12363545.png
                         Ternium NDA.pdf



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     Sincerely,

     Liaran Aleman


           On Jan 11, 2024, at 9:28 AM, Liaran Aleman <liaran.aleman@aspirion.com>
           wrote:




                                          Liaran Aleman, JD • Associate Attorney,
                                          Licensed in FL
           <RSImage-                      Direct: (561) 486-7939 • Fax: (561) 264-                              <RSImage-
           12363545.png>                  8920                                                               12945613.png>
                                          Liaran.Aleman@Aspirion.com •
                                          www.aspirion.com




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           have received this communication in error, please notify the sender immediately by returning this email to the
           sender and delete the original message and attachments.
                                 <RSImage-12939853.png>
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           <Liaran Aleman.pdf>
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      MUTUAL NON-CIRCUMVENTION, NON-DISCLOSURE, AND CONFIDENTIALITY
                              AGREEMENT

    This CONFIDENTIALITY AGREEMENT is entered into effective _______________, 2024 by
    and between Ternium, LLC its successors, and assigns and                        _
    (collectively the “Parties”).

    WHEREAS, the Parties desire to discuss certain matters regarding potential business
    transactions between them and/or other third parties; and

    WHEREAS, in connection with these discussions, certain confidential and proprietary
    information regarding each party, as well as other third party businesses, may be disclosed to the
    other to assist in the evaluation of the potential business transactions; and

    WHEREAS, the parties desire to establish the terms under which they will disclose certain
    confidential and proprietary information.

    NOW THEREFORE, in consideration for the mutual promises contained herein, and other
    good and valuable consideration, receipt of which is expressly acknowledged, the parties hereby
    agree and covenant as follows:

    Section 1. Confidential Information. Confidential Information shall mean:

    (a) any data or information that is competitively sensitive material, and not generally known to
    the public, including, but not limited to, products planning information, marketing strategies,
    plans, finance, operations, leadership, customer relationships, customer profiles, sales estimates,
    business plans, and internal performance results relating to the past, present or future business
    activities of the parties, their parent corporations if applicable, their subsidiaries and affiliated
    companies and the customers, clients and suppliers of any of the foregoing; and

    (b) any scientific or technical information, design, process, procedure, formula, or improvement
    that is commercially valuable and secret in the sense that its confidentiality affords the applicable
    party a competitive advantage over its competitors; and

    (c) all confidential or proprietary concepts, documentation, reports, data, specifications,
    computer software, source code, object code, flow charts, databases, inventions, information,
    know-how, show-how and trade secrets, whether or not patentable or copyrightable and
    regardless of whether such information is a Party’s property or the property of a third-party
    supplier (such as a software licensor), and regardless of whether such information is specifically
    marked or identified as confidential.

    Confidential Information includes without limitation, all of the Parties’ documents, strategies,
    marketing, processes, protocols, policies, technical specifications, algorithms, inventions,
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    equipment, prototypes and models, and any other tangible manifestation of the foregoing,
    whether now existing or arising in the future.

    Confidential Information also includes conversations about the purchase or sale of any or all
    assets of other third-party businesses as well as any documentation, materials, and/or information
    disclosed on behalf of said third parties.

    Neither Ternium, nor any of their employees, affiliates, or representatives make any
    representation or warranty as to the accuracy or completeness of Confidential Information from
    any such third party business, and each party expressly disclaims any and all liability based on
    such information or an omission there from.

    Section 2. Confidentiality Obligations. Except as expressly authorized by prior written consent
    of the supplying party, the receiving party shall:

    (a) limit access to any Confidential Information received by it to its employees or third parties
    who have a need-to-know in connection with the evaluation of the potential business transaction,
    and only for use in connection therewith; and

    (b) Advise its employees or third parties having access to the Confidential Information of the
    proprietary nature thereof and of the obligations set forth in the Confidentiality Agreement; and

    (c) take appropriate action by instruction or agreement with its employees or other parties having
    access to the Confidential Information to fulfill its obligations under this Confidentiality
    Agreement; and

    (d) safeguard all Confidential Information received by it using a reasonable degree of care, but
    not less than that degree of care used by the receiving party in safeguarding its own similar
    information or material; and

    (e) use all Confidential Information received by it solely for purposes of evaluating the potential
    business transactions with the supplying party and for no other purpose whatsoever; and

    (f) not disclose any Confidential Information received by it to third parties without prior written
    consent by supplying party; and

    (g) not disclose the existence of the discussions to any third party; and

    (h) be responsible for any breach of the terms hereunder by the receiving party or any person
    who receives any Confidential Information from the receiving party.

    The receiving party shall be responsible for, and shall not be excused or relieved from the
    foregoing obligations by reason of any improper, unlawful, illegal, fraudulent or criminal
    conduct by any of its employees or any other third party with access to the receiving party’s
    facilities. The receiving party shall give the supplying party immediate notice of any
    unauthorized use or disclosure of any Confidential Information.
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    Except as prohibited by law, regulation or Exchange rule binding upon the receiving party, upon
    the request of the supplying party, the receiving party shall (i) surrender to the supplying party
    all memoranda, notes, records, drawings, manuals and other documents or materials (and all
    copies of same) pertaining to or including the Confidential Information and (ii) destroy all
    memoranda, notes, records, drawings, manuals, records, and other documents or materials (and
    all copies of same) prepared by receiving party or any person who received any Confidential
    Information from the receiving party based on any information in the Confidential Information.
    Upon the return or destruction of such materials, the receiving party agrees to certify, in writing,
    that all of the foregoing materials have been surrendered to the supplying party.

    Section 3. Exceptions to Confidentiality. The obligations of confidentiality and restriction on
    use in Section 2 shall not apply to any information that the receiving party proves:

           (a) Was in the public domain prior to the date of this Agreement or subsequently came
           into the public domain through no fault of the receiving party, or

           (b) Was lawfully received by the receiving party from a third party free of any obligation
           of confidence to such third party; or

           (c) Was already in the possession of the receiving party prior to receipt thereof, directly
           or indirectly, from the supplying party; or

           (d) Is required to be disclosed to any governmental agency pursuant to applicable laws
           or regulations, or is required to be disclosed in a judicial or administrative proceeding
           after all reasonable legal remedies for maintaining such information in confidence have
           been exhausted including, but not limited to, (and except where such notice is prohibited
           by law, regulation or Exchange rule binding upon the receiving party) giving the
           supplying party as much advance notice of the possibility of such disclosure as practical
           so the supplying party may attempt to obtain a protective order concerning such
           disclosure, or take such other actions as necessary to stop such disclosure or to assure
           confidential handling of such Confidential Information; or

           (e) Is subsequently and independently developed by employees, consultants or agents of
           the receiving party without reference to the Confidential Information disclosed under this
           Agreement.

    Section4. Rights in Confidential Information. Except as specifically provided for herein, this
    Agreement does not confer any right, license, interest or title in, to or under the Confidential
    Information to the receiving party. Except as specifically provided for herein, no license is
    hereby granted to the receiving party, by estoppel or otherwise under any patent, trademark,
    copyright, trade secret or other proprietary rights of the supplying party. Title to the Confidential
    Information shall remain solely in the supplying party, even if suggestions, comments, ideas or
    other improvements made by the receiving party are incorporated into the Confidential
    Information or related materials, unless otherwise agreed to in writing by the parties.
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    Section 5. Indemnity by the Receiving Party. The receiving party agrees to indemnify and hold
    harmless the supplying party from and against any and all losses, claims, damages and expenses
    (including, but not limited to, attorneys’ and experts’ fees, costs of investigation and costs of
    settlement) which result from the receiving party’s breach of this Agreement or unauthorized use
    or disclosure of the Confidential Information. The receiving party’s indemnification obligations
    pursuant to the immediately preceding sentence shall include any obligation to indemnify and
    hold harmless the supplying party from and against any and all losses, claims, damages and
    expenses asserted by anyone claiming by, through or under the supplying party.

    Section 6. Equitable Relief. The Parties agree that money damages would not be a sufficient
    remedy for breach of the confidentiality and other obligations of this Agreement. Accordingly, in
    addition to all other remedies that either party may have, the supplying party shall be entitled to
    specific performance and injunctive or other equitable relief as a remedy for any breach of the
    confidentiality and other obligations of this Agreement. The receiving party agrees to waive any
    requirement for a bond a connection with any such injunctive or other equitable relief.

    Section 7. Other Agreements. This Confidentiality Agreement is in addition to and not in lieu
    of whatever other agreements may exist between the parties; provided, however, that unless any
    other such agreement is more protective of the supplying party, in the event of inconsistency
    between this Agreement and the other agreement, this Agreement shall control.

    Section 8. Survival. The receiving party’s obligations hereunder shall survive two years from
    the termination of any related contract or other relationship between the parties.

    Section 9. Miscellaneous. This Agreement shall be binding upon the parties hereto and their
    respective successors and assigns. This Agreement may not be amended or modified except in a
    writing making express reference hereto, signed by both parties. Agreement shall be governed
    and construed under the internal laws of the State of North Carolina. Any disputes arising
    pursuant to this Agreement will be resolved exclusively within Orange County, North Carolina.

    IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first written
    above.

    First Party: Ternium, LLC
    Signature:
    Printed Name:
    Date:

    Second Party: ________________________
    Signature: ___________________
    Printed Name: ________________
    Date: _______________________
